      Christopher N. Coyle, OSB #073501
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtors-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                       Case No. 20-30629-dwh12

       George Aubert Orchards Inc.,

                      Debtor-in-Possession.
       In re                                       Case No. 20-30630-dwh12

       Aubert Property Holdings, LLC,

                      Debtor-in-Possession.
       In re                                       Case No. 20-30628-dwh12

       Leonard Aubert,
       Karen Aubert,                               MOTION TO DETERMINE ADEQUATE
                                                   ASSURANCE TO UTILITY COMPANIES
                      Debtors-in-Possession.

                                                  NOTICE

               If you oppose the proposed course of action or relief sought in this motion, you must

      file a written objection in each of the above Chapter 12 cases (or, if Debtors-in-Possession’s

      concurrent motion for joint administration is granted, in the designed lead bankruptcy case)

      with the bankruptcy court no later than fourteen (14) days after the date listed in the

      certificate of service enclosed herewith. If you do not file an objection, the Court may grant
Page 1 of 5     MOTION TO DETERMINE ADEQUATE ASSURANCE TO UTILITY                 VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
                COMPANIES                                                           319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



                            Case 20-30629-dwh12       Doc 9   Filed 02/24/20
      the motion without further notice or hearing. Your objection must set forth the specific

      grounds for objection and your relation to the case. The objection must be received by the

      clerk of court at 1050 SW 6th Avenue #700, Portland, OR 97204, by the deadline specified

      above or it may not be considered. You must also serve the objection on Christopher N.

      Coyle, Vanden Bos & Chapman, LLP, 319 SW Washington Street, Suite 520, (503) 241-

      4869, within that same time. If the Court sets a hearing, you will receive a separate notice

      listing the hearing date, time, and other relevant information.



                                                 MOTION

              Debtors-in-Possession Leonard and Karen Aubert, George Aubert Orchards Inc., and

      Aubert Property Holdings, LLC (collectively “Debtors” or “Debtors-in-Possession” and each

      a “Debtor”) move the Court for entry of the attached Order Determining Adequate

      Assurance to Utility Companies (“Proposed Order”) marked as Exhibit 1, and in support

      thereof states as follows:

                                      JURISDICTION AND VENUE

              1.    The Court has jurisdiction over this matter pursuant to 28 USC §§ 157 and

      1334. This matter is core proceeding within the meaning of 28 USC § 157(b)(2).

              2.    Venue is proper in this district pursuant to 28 USC §§ 1408 and 1409.

              3.    The statutory basis for the relief requested are 11 USC §§101-1532 (the

      “Bankruptcy Code”) and specifically § 105(a) and FRBP 1015(b).

                                             BACKGROUND

              4.    On February 24, 2020 (the “Petition Date”), Debtors-in-Possession Leonard

      and Karen Aubert, George Aubert Orchards Inc., and Aubert Property Holdings, LLC filed


Page 2 of 5    MOTION TO DETERMINE ADEQUATE ASSURANCE TO UTILITY                  VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
               COMPANIES                                                            319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



                          Case 20-30629-dwh12        Doc 9    Filed 02/24/20
      three (3) voluntary petitions for relief under chapter 12 of the Bankruptcy Code. Debtors will

      continue to operate their commercial farming operation (growing and harvesting pears and

      cherries) as debtors-in-possession pursuant to Section 1204 of the Bankruptcy Code.

              5.    In connection with the operation of Debtors’ business, Debtors obtain electric,

      gas, water, and similar services (collectively the "Utility Services") from several utility

      companies (the "Utility Companies"). Listed as First Class Mail service recipients on the

      Proposed Order are substantially all of the Utility Companies that provide Utility Services

      respectively to the Debtors as of the Petition Date. The relief requested herein is requested

      with respect to all Utility Companies providing Utility Services to Debtors and is not limited

      only to those entities listed on the Proposed Order.

              6.    Pursuant to Section 366(c)(2), a Utility Company may alter, refuse, or

      discontinue utility service to a debtor if within 30 days after the Petition Date the debtor does

      not provide adequate assurance of payment for post-petition Utility Services in a form that is

      satisfactory to the Utility Company. Debtors seek an order determining the appropriate form

      of adequate assurance of future performance and thereby prohibiting any Utility Company

      from altering, refusing, or discontinuing Utility Services absent further court order.

              7.    Debtors propose to provide adequate assurance of payment in the form of a

      one-month deposit by Debtors to the Utility Companies which request such a deposit within

      thirty (30) days of such request.

              8.    The one-month deposits made within thirty (30) days of request of each Utility

      Company shall be deemed to be adequate assurance of payment for purposes of Section

      366 without prejudice to the Utility Companies' right to seek additional or alternative

      assurance of payment upon further request of this Court. Debtors request that any Utility


Page 3 of 5    MOTION TO DETERMINE ADEQUATE ASSURANCE TO UTILITY                     VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
               COMPANIES                                                               319 SW Washington Street, Suite 520
                                                                                          Portland, Oregon 97204-2690
                                                                                                 (503) 241-4869



                           Case 20-30629-dwh12         Doc 9    Filed 02/24/20
      Company seeking additional or alternative forms of adequate assurance be prohibited from

      altering, refusing, or discontinuing Utility Services pending further order of this Court.

               9.    If Utility Companies are permitted to terminate Utility Services without notice to

      Debtors or an opportunity for hearing, Debtors’ business could be severely impacted

      resulting in significant losses. The impact on Debtors’ business operations, revenue and

      restructuring efforts could be devastating. Accordingly, it is important that the Utility

      Services remain uninterrupted.

               10.   In determining adequate assurance, the Court is not required to give the Utility

      Companies the equivalent of a guarantee of payment but must only determine that the utility

      is not subject to an unreasonable risk of nonpayment for post-petition services. See In re

      Caldor, Inc. - NY, 199 B.R. 1 (SDNY 1996); In re Santa Clara Circuits West, Inc., 27 BR

      680, 685 (Bankr. D. Utah 1982); In re George C. Frye Co., 7 BR 856, 858 (Bankr. D. Me

      1980).

               11.   The adequate assurance proposed herein consisting of a cash deposit upon

      request equal to one month of service for each identified utility will provide satisfactory

      assurance of payment. Furthermore, requiring a court order prior to the alteration, refusal, or

      discontinuance of Utility Services by any Utility Company will protect Debtors’ business

      operations from being disrupted in the event a Utility Company unilaterally determines that

      the proposed adequate assurance of payment is not appropriate.

               12.   Debtors’ proposed assurance of payment is in the best interest of Debtors and

      Debtors’ creditors and will enable Debtors to continue to operate Debtors’ business in the

      ordinary course.




Page 4 of 5     MOTION TO DETERMINE ADEQUATE ASSURANCE TO UTILITY                   VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
                COMPANIES                                                             319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
                                                                                                (503) 241-4869



                           Case 20-30629-dwh12        Doc 9    Filed 02/24/20
              WHEREFORE, Debtors pray that this Court enter the Proposed Order determining

      that the payment of a deposit equal to one-month's average services with thirty (30) days of

      a request by a Utility Company constitutes adequate assurance of payment in accordance

      with Section 366 unless and until further order of this Court and prohibiting any Utility

      Company from altering, refusing, or discontinuing Utility Services without further order of this

      Court or granting such other form of adequate assurance as the court may deem necessary

      or appropriate.

       Dated: February 24, 2020                 VANDEN BOS & CHAPMAN, LLP



                                                By:/s/Christopher N. Coyle
                                                   Christopher N. Coyle, OSB #073501
                                                   Of Attorneys for Debtors-in-Possession




Page 5 of 5    MOTION TO DETERMINE ADEQUATE ASSURANCE TO UTILITY                   VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
               COMPANIES                                                             319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869



                           Case 20-30629-dwh12       Doc 9    Filed 02/24/20
                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                    Case No. 20-30629-dwh12

       George Aubert Orchards Inc.,

                      Debtor-in-Possession.
       In re                                    Case No. 20-30630-dwh12

       Aubert Property Holdings, LLC,

                      Debtor-in-Possession.
       In re                                    Case No. 20-30628-dwh12

       Leonard Aubert,
       Karen Aubert,                            ORDER DETERMINING ADEQUATE
                                                ASSURANCE TO UTILITY COMPANIES
                      Debtors-in-Possession.

               THIS MATTER having come before the Court upon Debtors-in-Possession Leonard

      and Karen Aubert, George Aubert Orchards Inc., and Aubert Property Holdings, LLC

      (collectively “Debtors” or “Debtors-in-Possession” and each a “Debtor”) Motion for Order

      Determining Adequate Assurance to Utility Companies (Docket #XX) filed by the Debtors




Page 1 of 2     ORDER DETERMINING ADEQUATE ASSURANCE TO UTILITY                VANDEN BOS & CHAPMAN, LLP
                                                                                          Attorneys at Law
                COMPANIES                                                        319 SW Washington Street, Suite 520
                                                                                    Portland, Oregon 97204-2690
                                                                                           (503) 241-4869
      Exhibit 1 - Page 1 of 2
                           Case 20-30629-dwh12     Doc 9   Filed 02/24/20
      and the matter having come before the Court for hearing and the Court being duly advised

      in the premises and finding good cause therefor;

              NOW, THEREFORE, IT IS HEREBY ORDERED for each Utility Company that

      requests a deposit, payment of a deposit equal to one-month's average services to each

      Utility Company within thirty (30) days constitutes adequate assurance of payment in

      accordance with Section 366 unless and until further order of this Court and all utility

      companies are hereby prohibited from altering, refusing, or discontinuing utility service

      without further order of this Court. Provided, however, that this order is without prejudice to

      any utility company's right to seek additional or alternative assurance of payment upon

      further request of this Court.

                                                    ###

      PRESENTED BY:                                     First Class Mail:

      VANDEN BOS & CHAPMAN, LLP                         Crystal Springs Water District
                                                        PO Box 186
                                                        3006 Chevron Dr.
      By:/s/Christopher N. Coyle                        Odell, OR 97044
         Christopher N. Coyle, OSB #073501
         Of Attorneys for Debtors-in-Possession         Hood River Electric Cooperative
                                                        PO Box 125
      LBR 9021-1 CERTIFICATION                          Odell, OR 97044-0125

      I certify that I have complied with the           All parties on consolidated service list.
      requirement of LBR 9021-1(a); the proposed
      order was circulated with the motion.             Electronic Mail:

                                                        The foregoing was served on all CM/ECF
      By:/s/Christopher N. Coyle                        participants through the Court's Case
         Christopher N. Coyle, OSB #073501              Management/Electronic Case File system.




Page 2 of 2    ORDER DETERMINING ADEQUATE ASSURANCE TO UTILITY                     VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
               COMPANIES                                                              319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
                                                                                                (503) 241-4869
      Exhibit 1 - Page 2 of 2
                           Case 20-30629-dwh12       Doc 9    Filed 02/24/20
